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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

In re:                                               )           Chapter 11
                                                     )
EAT HERE BRANDS, LLC, et al.1,                       )           Lead Case No. 19-61688-WLH
                                                     )
                 Debtors.                            )           Jointly Administered
                                                     )

         WITHDRAWAL OF DEBTORS’ APPLICATION FOR ENTRY OF AN ORDER
               AUTHORIZING THE RETENTION AND EMPLOYMENT OF
          KEEN SUMMIT CAPITAL PARTNERS LLC AS REAL ESTATE ADVISOR
                NUNC PRO TUNC TO AUGUST 16, 2019 [DOCKET NO. 66]

         Eat Here Brands, LLC, Babalu Atlanta #1 LLC, Babalu Atlanta #2 LLC, Babalu

Knoxville #1 LLC, Babalu Memphis #1 LLC, Babalu Memphis #2 LLC, Babalu, LLC, and

Babalu Birmingham #1 LLC (collectively, the “Debtors”) hereby withdraw their Application for

an order to retain Keen-Summit Capital Partners LLC as their real estate advisor [Docket No. 66]

(the “Application”), and respectfully show the Court the following:

         1.      On July 30, 2019 (the “Petition Date”), the Debtors each commenced voluntary

cases (the “Bankruptcy Cases”) under Chapter 11 of Title 11 of the United States Code

(the “Bankruptcy Code”).

         2.      The Debtors have continued in possession of their properties and have continued

to operate and manage their respective businesses as debtors-in-possession pursuant to

Sections 1107(a) and 1108 of the Bankruptcy Code.

         3.      As of the date of this filing, no request has been made for the appointment of a

trustee or examiner.
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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta
#2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1 LLC (9320); Babalu Memphis #2 LLC
(4558); Babalu, LLC (7673); and Babalu Birmingham #1 LLC (1892). The Debtors’ mailing address is 9755
Dogwood Road, Suite 200, Roswell, Georgia 30075.



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         4.     Additional information about the Debtors’ businesses and the events leading up to

the commencement of the Bankruptcy Cases can be found in the Declaration of Ned Lidvall,

Chief Executive Officer of the Debtors, in Support of Chapter 11 Petitions and First-Day Orders

[Docket No. 5] (the “Lidvall Declaration”), which is incorporated herein by reference.

         5.     The Debtors fled the Application on August 19, 2019.

         6.     No creditor or party in interest has filed an objection to the Application.

         7.     The Debtors have determined in their business judgment that they no longer

require the services of Keen-Summit Capital Partners LLC, and therefore, no longer request a

ruling from the Court on the Application.

                                              NOTICE

         8.     Notice of this Withdrawal will be given to the parties identified on the Master

Service List in these Bankruptcy Cases as approved by this Court’s Order Establishing Notice

and Administrative Procedures [Docket No. 33], or in lieu thereof, to their counsel. The Debtors

respectfully submit that no further notice is necessary.

         Respectfully submitted this 19th day of September 2019.


                                       ARNALL GOLDEN GREGORY LLP

                                       /s/ Darryl S. Laddin
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                                       Attorneys for Debtors and Debtors in Possession




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